
962 So.2d 382 (2007)
J.H., a Child, Appellant,
v.
STATE of Florida, Appellee.
Nos. 1D06-3045, 1D06-3048.
District Court of Appeal of Florida, First District.
August 3, 2007.
Nancy A. Daniels, Public Defender, and Archie F. Gardner, Jr., Assistant Public Defender, Tallahassee, for Appellant.
Bill McCollum, Attorney General, and Anne C. Conley, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
This appeal is DISMISSED as moot.
WOLF, PADOVANO, and ROBERTS, JJ., concur.
